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                                                  U.S:DisfmCTCC'JR7
             IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GH6yGTs3' AH1I:27
                           SAVANNAH DIVISION

                                                         mrof GA.
UNITED STATES OF AMERICA,


V.                                            Case No. CR416-353-04


LARRY DOUGLAS, JR.


                 Defendant




      Stephanie O. Burgess, counsel of record for defendant Larry-

Douglas, Jr. in the above-styled case has moved for leave of

absence.    The Court is mindful that personal and professional

obligations require the absence of counsel on occasion. The Court,

however, cannot accommodate its schedule to the thousands of

attorneys who practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and         trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


      SO ORDERED this 3^^day of May 2017.


                                   WILLIAM T. MOOR^ JR.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
